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                                   8                                UNITED STATES DISTRICT COURT
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                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
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                                  12                                                        Case No. 15-MD-02617-LHK
Northern District of California
 United States District Court




                                  13    IN RE ANTHEM, INC. DATA BREACH                      ORDER RE PRELIMINARY CASE
                                        LITIGATION                                          MANAGEMENT CONFERENCE
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                                  18          By order of the Judicial Panel on Multidistrict Litigation (“JPML”), ECF No. 1, the instant
                                  19   actions were transferred and assigned to this Court for coordinated or consolidated pretrial
                                  20   proceedings under 28 U.S.C. § 1407. Additional tag-along actions may be transferred.
                                  21          Because these cases merit special attention as complex litigation, the Court hereby
                                  22   ORDERS:
                                  23          1. Preliminary Case Management Conference.

                                  24             1.1. Date, Time & Location. Counsel for all parties shall appear for a preliminary case
                                       management conference (“CMC”) on Friday, July 31, 2015, at 1:00 p.m. in the ceremonial
                                  25   courtroom on the 5th floor of the Robert F. Peckham Federal Building and U.S. Courthouse
                                  26   located at 280 South 1st Street, San Jose, California 95113. To facilitate matters, counsel may
                                       check in with the Courtroom Deputy beginning at 12 noon.
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                                                 1.2. Purpose. The purpose of the preliminary CMC is for the Court to learn about the
                                   1   nature and scope of this litigation, and for the Court to begin the process of appointing lead
                                   2   plaintiffs’ counsel. The Court will not set a case schedule at the preliminary CMC. The Court
                                       will do so after lead plaintiffs’ counsel has been appointed.
                                   3
                                                 2. Preparations for the Preliminary Case Management Conference.
                                   4
                                                2.1. Rules. Counsel are expected to be familiar with the Manual for Complex Litigation,
                                   5   Fourth. Counsel are also required to review the Civil Local Rules for the Northern District of
                                   6   California, any applicable General Orders, and this Court’s Standing Orders, all of which can be
                                       found on the Northern District of California website at http://www.cand.uscourts.gov/lhk.
                                   7
                                                2.2. Counsel Meet and Confer. Before the preliminary CMC, counsel shall confer and
                                   8   seek consensus to the extent possible concerning the immediate issues and any other matters they
                                       wish to bring to the Court at this time. For plaintiffs, the Court designates:
                                   9

                                  10                   Eve H. Cervantez
                                                       Altshuler Berzon LLP
                                  11                   177 Post Street, Suite 300
                                                       San Francisco, CA 94108
                                  12
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 United States District Court




                                                       Andrew N. Friedman
                                  13
                                                       Cohen Milstein Sellers & Toll PLLC
                                  14                   1100 New York Avenue, Suite 500
                                                       Washington, DC 98104
                                  15
                                       These temporary designations are not a precursor of future appointments, but simply a means to
                                  16   initiate the process. The Court expects that all counsel desiring to do so will have a full
                                       opportunity to participate in the discussion and the report which the Court requests.
                                  17

                                  18            2.3. Preliminary Joint Case Management Statement. Counsel listed above, in
                                       conjunction with counsel for Anthem, will submit to the Court by Tuesday, July 28, 2015, a
                                  19   preliminary joint case management statement not to exceed fifteen (15) pages in length. The joint
                                       statement should be filed in the master docket (No. 15-MD-02617) and include the following:
                                  20

                                  21            • A brief discussion of the facts and the critical legal issues. Any potentially dispositive
                                       issues should be separately identified. These statements will not be binding, will not waive claims
                                  22   or defenses, and may not be offered into evidence against a party in later proceedings.

                                  23              • A proposed discovery plan, including a list of any outstanding discovery.
                                  24              • A list of all pending motions.
                                  25
                                                  • A list of all known related cases pending in state or federal court and their current
                                  26   status.

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                                                 • A list of all parents, subsidiaries, and companies affiliated with the corporate parties
                                   1   and of all counsel associated in the litigation to help the Court identify any problems of recusal or
                                   2   disqualification.

                                   3   The Court urges counsel to set forth their views in a single joint report that notes both consensus
                                       views and divergent views where appropriate.
                                   4
                                               3. Appointment of Lead Plaintiffs’ Counsel. The Court will hold a hearing on September
                                   5   10, 2015, at 1:30 p.m. to appoint lead plaintiffs’ counsel. The Court will only consider attorneys
                                   6   who have filed an action in this litigation. Motions to serve as lead plaintiffs’ counsel are due no
                                       later than August 20, 2015, and shall not exceed ten (10) pages in length. Oppositions are due
                                   7   August 27, 2015, and shall not exceed five (5) pages in length. Replies are due September 3,
                                       2015, and shall not exceed five (5) pages in length. The chief criteria for these appointments are:
                                   8
                                              • Knowledge and experience in prosecuting complex litigation, including class actions;
                                   9

                                  10          • Willingness and ability to commit to a time-consuming process;

                                  11          • Ability to work cooperatively with others; and

                                  12          • Access to sufficient resources to prosecute the litigation in a timely manner.
Northern District of California
 United States District Court




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                                       Where appropriate, applications should also set forth attorney fee proposals, rates, and percentages
                                  14   that applicants expect to seek if the litigation succeeds in creating a common fund.

                                  15          4. Interim Measures.
                                  16            4.1. Admission of Counsel. All attorneys admitted to practice and in good standing in
                                       any United States District Court are admitted pro hac vice. Association of local counsel is not
                                  17
                                       required. If not already registered, counsel will need to register for electronic filing (CM/ECF) in
                                  18   the Northern District of California. (More information can be found on the Court’s website.)

                                  19             4.2. Preservation of Records. Until the parties reach agreement on a plan for
                                       preservation of records, all parties and their counsel must preserve all evidence that may be
                                  20   relevant to these actions.
                                  21
                                                 4.3. Stay of Motions Practice. Except for motions for emergency relief, no motion shall
                                  22   be filed until and in accordance with the case schedule.

                                  23            4.4 Orders of Transferor Courts. All orders by transferor courts imposing dates for
                                       pleading or discovery are vacated.
                                  24

                                  25           4.5. Chambers Mailbox. The Court maintains an electronic mailbox for
                                       communications with the Courtroom Deputy: lhkcrd@cand.uscourts.gov. The only email
                                  26   communications that the parties or other interested individuals may have with the Courtroom
                                       Deputy are non-substantive scheduling communications and must include opposing counsel and
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                                       temporary plaintiffs’ counsel as designated in section 2.2 then lead plaintiffs’ counsel when
                                   1   appointed pursuant to section 3. All substantive issues must be discussed in filings with the Court.
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                                                4.6. Website. The Court intends to set up a website specific to this case.
                                   3
                                                4.7. Filings. All filings should be in the master docket (No. 15-MD-02617).
                                   4
                                                5. Later Filed Cases. This Order shall also apply to related cases later filed in, removed
                                   5   to, or transferred to this Court.
                                   6   IT IS SO ORDERED.
                                   7

                                   8   Dated: July 6, 2015
                                   9                                                    ______________________________________
                                  10                                                    LUCY H. KOH
                                                                                        United States District Judge
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Northern District of California
 United States District Court




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